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                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                      UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ALABAMA
                           SOUTHERN DIVISION

MELISSA FENDLEY,
an individual,

      Plaintiff,
                                               CASE NO:
vs.

GIOVANNIS PIZZA LLC,

     Defendant.
__________________________________/

                                   COMPLAINT

      Plaintiff, MELISSA FENDLEY (“Plaintiff”) by and through the undersigned

counsel, hereby files this Complaint and sues GIOVANNIS PIZZA LLC for

injunctive relief, attorney’s fees and costs pursuant to 42 U.S.C. §12181 et seq.,

(“Americans with Disabilities Act” or “ADA”) and alleges:

                         JURISDICTION AND PARTIES

      1.      This is an action for declaratory and injunctive relief pursuant to Title

III of the Americans with Disabilities Act, 42 U.S.C. §12181 et seq., (hereinafter

referred to as the “ADA”). This Court is vested with original jurisdiction under 28

U.S.C. Sections 1331 and 1343.

      2.      Venue is proper in this Court, the Northern District of Alabama

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pursuant to 28 U.S.C. §1391 (B) and Local Rules of the United States District Court

for the Northern District of Alabama.

      3.      Plaintiff,    MELISSA     FENDLEY         (hereinafter   referred   to   as

“FENDLEY”) is a resident of Warrior, Alabama and is a qualified individual with a

disability under the ADA. FENDLEY suffers from what constitutes a “qualified

disability” under the Americans with Disabilities Act of 1990, (“ADA”) and all other

applicable Federal statutes and regulations to the extent that she suffers from

paraplegia and requires a wheelchair for mobility. Prior to instituting the instant

action, FENDLEY visited the Defendant’s premises at issue in this matter numerous

times, and was denied full, safe and equal access to the subject properties due to their

lack of compliance with the ADA. FENDLEY continues to desire and intends to

visit the Defendant’s premises but continues to be denied full, safe and equal access

due to the barriers to access that continue to exist.

      4.      The Defendant, GIOVANNIS PIZZA LLC, is a domestic limited

liability company registered to do business and, in fact, conducting business in the

State of Alabama.          Upon information and belief GIOVANNIS PIZZA LLC,

(hereinafter referred to as “GIOVANNIS”) is the owner, lessee and/or operator of

the real property and improvements that are the subject of this action, specifically:

Giovannis Pizza Restaurant, located at 912 2nd Ave East, Oneonta, Alabama

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(hereinafter referred to as the "Restaurant").

      5.      All events giving rise to this lawsuit occurred in the Northern District

of Alabama.

                     COUNT I - VIOLATION OF THE ADA

      6.      On or about July 26, 1990, Congress enacted the Americans with

Disabilities Act (“ADA”), 42 U.S.C. §12101 et seq. Commercial enterprises were

provided one and a half years from enactment of the statute to implement its

requirements. The effective date of Title III of the ADA was January 26, 1992. 42

U.S.C. §12181; 20 C.F.R. §36.508 (A).

      7.      Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, the Restaurant

owned by GIOVANNIS is a place of public accommodation in that it is a restaurant,

bar, or other establishment serving food or drink operated by a private entity that

provides goods and services to the public.

      8.      Defendant has discriminated and continues to discriminate against the

Plaintiff, and others who are similarly situated, by denying access to, and full, safe

and equal enjoyment of goods, services, facilities, privileges, advantages and/or

accommodations at the Restaurant in derogation of 42 U.S.C §12101 et seq.

      9.      The Plaintiff has been unable to and continues to be unable to enjoy

access to, and the benefits of the services offered at the Restaurant owned by

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GIOVANNIS. Prior to the filing of this lawsuit, Plaintiff personally and regularly

visited the Restaurant at issue in this lawsuit and was denied access to the benefits,

accommodations and services of the Defendant’s premises and therefore suffered an

injury in fact as a result of the barriers to access listed in Paragraph 11, below, that

she personally encountered. In addition, Plaintiff continues to desire and intends to

visit the Restaurant, but continues to be injured in that she is unable to and continues

to be discriminated against due to the barriers to access that remain at the Restaurant

in violation of the ADA. FENDLEY has now and continues to have reasonable

grounds for believing that she has been and will be discriminated against because of

the Defendant’s, deliberate and knowing violations of the ADA.

      10.    Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the

Department of Justice, Office of the Attorney General, promulgated Federal

Regulations to implement the requirements of the ADA 28 C.F.R. Part 36.

      11.    GIOVANNIS is in violation of 42 U.S.C. §12181 et seq. and 28 C.F.R.

§36.302 et seq. and is discriminating against the Plaintiff as a result of inter alia, the

following specific violations that Plaintiff personally encountered:

             i.     There are an insufficient number of accessible parking spaces
                    provided in the parking area serving the Restaurant;

             ii.    No van accessible parking spaces are provided in the parking
                    areas serving the Restaurant;

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             iii.   The two (2) parking spaces with some indicia of accessibility in
                    the parking lot serving the Restaurant lack adjacent access
                    aisles necessary for a wheelchair user and are not designated
                    with raised signage;

             iv.    The public toilet rooms are not designated with accessible
                    signage and are equipped with knob-style door hardware that
                    requires tight grasping and twisting of the wrist to operate,
                    pedestal-style lavatories that do not provide knee and toe
                    clearance for a wheelchair use, and have incorrectly configured
                    grab bars at the water closet, mirrors that are too high for a
                    wheelchair user and dispensers that are located out of reach of a
                    wheelchair user.

      12.    There are other current barriers to access and violations of the ADA at

the Restaurant owned and operated by GIOVANNIS that were not specifically

identified herein as the Plaintiff is not required to engage in a futile gesture pursuant

to 28 C.F.R. Part 36, §36.501 and, as such, only once a full inspection is performed

by Plaintiff or Plaintiff’s representatives can all said violations be identified.

      13.    To date, the barriers to access and other violations of the ADA still exist

and have not been remedied or altered in such a way as to effectuate compliance

with the provisions of the ADA.

      14.    Pursuant to the ADA, 42 U.S.C. §12101 et seq. and 28 C.F.R. §36.304,

GIOVANNIS was required to make its Restaurant, a place of public

accommodation, accessible to persons with disabilities by January 28, 1992. To

date, GIOVANNIS has failed to comply with this mandate.

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      15.    Plaintiff has been obligated to retain undersigned counsel for the filing

and prosecution of this action. Plaintiff is entitled to have her reasonable attorney’s

fees, costs and expenses paid by Defendant pursuant to 42 U.S.C. §12205.

      16.    Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to

grant Plaintiff injunctive relief, including an Order to alter the subject facilities to

make them readily accessible to, and useable by, individuals with disabilities to the

extent required by the ADA, and closing the subject facilities until the requisite

modifications are completed.

      WHEREFORE, the Plaintiff demands judgment against GIOVANNIS and

requests the following injunctive and declaratory relief:

             A.     That the Court declare that the property owned and
                    administered by Defendant is violative of the ADA;

             B.     That the Court enter an Order directing Defendant to alter
                    its facilities to make them accessible to and useable by
                    individuals with disabilities to the full extent required by
                    Title III of the ADA;

             C.     That the Court enter an Order directing Defendant to
                    evaluate and neutralize its policies and procedures towards
                    persons with disabilities for such reasonable time so as to
                    allow them to undertake and complete corrective
                    procedures;

             D.     That the Court award reasonable attorney’s fees, costs
                    (including expert fees) and other expenses of suit, to the
                    Plaintiff; and

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           E.    That the Court award such other and further relief as it
                 deems necessary, just and proper.

     Dated this 16th day of March, 2022.

     Respectfully submitted,

                                           By: /s/ Edward I. Zwilling
                                           Edward I. Zwilling, Esq.
                                           AL State Bar No.: ASB-1564-L54E
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